               Case 1:21-cv-10761-AK Document 56 Filed 08/18/22 Page 1 of 6




                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

____________________________________
                                              )
AMERICAN CIVIL LIBERTIES UNION                )
OF MASSACHUSETTS and                          )
AMERICAN OVERSIGHT                            )       D. Mass No. 21-10761-NMG
                                              )
                                              )
                  Plaintiffs,                 )
                                              )
          v.                                  )
                                              )
                                              )
U.S. IMMIGRATION AND CUSTOMS                  )
ENFORCEMENT                                   )
                                              )
                  Defendant.                  )


                  SUPPLEMENTAL DECLARATION OF RICHARD CLARK
     I.        INTRODUCTION


     I, Richard J. Clark, pursuant to 28 U.S.C. § 1746, hereby declare as follows:
1.        I am employed as the Chief Technology Officer (CTO) in the Office of the Chief

Information Officer (OCIO) for the U.S. Immigration and Customs Enforcement (ICE). I have

held this position since January 28, 2019. Prior to this position, I was the Chief Enterprise

Architect (CEA) in OCIO for ICE. I have over twenty-five years of experience in Information

Technology (IT). I have a degree in Electrical and Computer Engineering from Clarkson

University.

2.        ICE OCIO is responsible for providing information technology services and products that

enable ICE to meet its mission. Services that the OCIO provides include the purchasing and

contracting of mobile devices, their supporting services, mobile device management
           Case 1:21-cv-10761-AK Document 56 Filed 08/18/22 Page 2 of 6




infrastructure, electronic mail (e-mail) and supporting infrastructure for e-mail operations for all

ICE employees.

3.      As the CTO and CEA I have specific knowledge of the policies, procedures and

capabilities of the ICE infrastructure and contracted services pertaining to email and mobile

devices issued by ICE to its employees.

4.      Pursuant to the Court’s opinion, dated June 3, 2022, I make this supplemental declaration

to address the Court’s concerns relating to data preservation on mobile phones and the process of

deactivation of mobile phones. Specifically (1) the process by which it, as a general matter,

deactivates and replaces employee mobile devices; (2) what, if any, steps it takes to preserve data

located on mobile devices at the time they are deactivated; and (3) the dates on which each of the

seven named custodians have had a mobile device deactivated since the first day of the Request

period, and what steps, if any, were taken to preserve data located on each of those devices.

5.      The statements contained in this supplemental declaration are based upon my personal

knowledge and experience, information provided to me in my official capacity, and upon

conclusions and determinations made in accordance therewith.

     II. INFORMATION REGARDING DATA PRESERVATION ON MOBILE DEVICES
6.       My previous declaration states that ICE OCIO does not have the capability or the

supporting technological infrastructure to search mobile devices for messages. 1

7.      In its memorandum of opinion, the Court instructed ICE to provide a supplemental

declaration describing the process by which ICE, as a general matter, 1) deactivates and replaces

employee devices 2) what steps, if any, are taken to preserve data located on mobile devices at

the time they are deactivated and 3) the dates on which each of the seven named custodians have


1
 See Defendant’s Reply and Opposition to Plaintiffs’ Cross-Motion for Summary Judgment, Declaration of Richard
Clark, Doc. 37-2, February 14, 2022, ¶ 11-14.
               Case 1:21-cv-10761-AK Document 56 Filed 08/18/22 Page 3 of 6




had a mobile device deactivated since the first day of the Request period, and what steps, if any,

were taken to preserve data located on each of those devices. ICE OCIO does not have a policy

to preserve data on mobile phones nor does ICE OCIO have an infrastructure capability to

preserve and/or store data from employees’ cell phones.

8.         As previously noted in my declaration, DHS Directive 141-03 provides a step-by-step

guide of how individuals should preserve and maintain records, should any records be

inadvertently created using chat, text, or instant messaging. The directive states that the

[individual][should] “write a memo to the file. Be sure to include Date and time of the

communication; Type of communication (e.g., text, voicemail, telephone call); Context of the

message or conversation (electronic messages); Participants; Subject; Details on any decisions

or commitments (verbal communications); Corresponding threads that precede a communication

and provide more background.” 2

9.         OCIO provides instructions to all ICE custodians of mobile devices on how to

administratively reset and or wipe the mobile device before the mobile device is returned to its

property custodian. The document with instructions is entitled “Steps to Erase All Data from

iPhone_iPad.pdf,” and provides a step-by-step guide to demonstrate how to erase data from

mobile devices. See Exhibit 1.

10.         Specifically, the instructions state the following: ‘Log into your iOS device with your

user passcode then tap on settings; Select the “>” to the right of your name and under your Apple

ID account information select “iCloud” and turn off any iCloud services, then tap on “Find my

iPhone”; Slide the “Find my iPhone” button to the off position and enter your Apple ID when

prompted. Finally you will see the device disconnecting from the cloud; Tap <iCloud <Apple ID



2
    Id.at ¶ 14-15.
           Case 1:21-cv-10761-AK Document 56 Filed 08/18/22 Page 4 of 6




and scroll to the bottom of the screen and tap Sign Out; Press the home button and Select

Settings then General and tap on Reset; Select “Erase All Content and Settings” and enter your

passcode then tap on Erase iPhone Tap Sign Out to remove data from this iPhone; Tap on Erase

iPhone again and the iOS device will reboot and wipe all the contents and then you will see the

factory welcome screen; Turn your iPhone off and return to your property custodian.’ 3

11.     Pursuant to OCIO instructions listed above, ICE mobile devices are reset by the

employee to whom the ICE mobile device was assigned. This ensures that all content of the

device has been securely erased prior to the device being e-cycled. OCIO provides further

detailed instructions in its guidance document entitled: “IOS Device Data Wiping: Quick

Reference Guide, Department of Homeland Security, Immigration Customs Enforcement

OCIO.” 4 This guidance is provided to all ICE personnel with mobile devices and identifies the

steps ICE employees need to take to wipe and or erase all data from their mobile device prior to

returning the device to an ICE Property Custodian or their supervisor. See Exhibit 2.

12.     Per the instructions listed in IOS Device Data Wiping Quick Reference Guide, it is the

ICE employee’s responsibility to take appropriate steps to establish and maintain separate

records if the employee had conducted official business on his or her cell phone utilizing

applications with a messaging component other than e-mail.

13.     Therefore, per DHS policy 143-01 and IOS Device Data Wiping Quick Reference

Guides, it was the responsibility of the seven (7) custodians to take appropriate steps to maintain

and preserve any data that may have inadvertently been stored or created on their individual

assigned mobile devices that would be considered official business records.


3
  Steps to Erase All Data from iPhone guide, Quick Reference Guide, Department of Homeland Security,
Immigration and Customs Enforcement OCIO. See Exhibit 1.
4
  IOS Device Data Wiping: Quick Reference Guide, Department of Homeland Security, Immigration Customs
Enforcement OCIO,” (November 1, 2017).4 See Exhibit 2.
            Case 1:21-cv-10761-AK Document 56 Filed 08/18/22 Page 5 of 6




14.     Pursuant to the Court’s Order dated June 3, 2022, ICE provides the following with

respect to the seven (7) custodians’ mobile devices: 1) Thomas Homan’s line of service was

deactivated on February 26, 2019; 2) Matthew Albence’s line of service was deactivated on

February 19, 2020; 3)Tracey Short’s line of service was deactivated on January 19, 2021; 4) Jon

Feere’s mobile was returned to the property custodian on January 1, 2021; 5) Ronald Vitiello’s

line of service was deactivated on December 16, 2020; 6) Thomas Blank’s line of service was

deactivated on May 21, 2020; and 7) Nathalie Asher’s mobile was returned to the property

custodian in December 2021.

15.     All lines were confirmed deactivated 5 with the exception of Nathalie Asher and Jon

Feere’s mobile devices. However, regarding Jon Feere’s mobile device, it was determined that

the cellphone that Mr. Feere used during his employment with ICE, was issued outside of

normal procedures i.e. carried over from a previous agency. OCIO became aware of this matter

after the Court’s June 3, 2022, Order. Since this new development, ICE has not yet been able to

unlock this device and respectfully requests the court to allow it 30-days to provide an update.

This will provide an ample time for ICE to work extensively on unlocking this device if it is

possible.




      JURAT CLAUSE
                 I declare under penalty of perjury that the forgoing is true and correct to the best

        of my knowledge and belief. Signed this 18th day of August 2022.



5
  Upon completion of employment at ICE, employees with mobile devices are instructed to deactivate their mobile
devices. Deactivation of mobile devices signals that the mobile phone data has been wiped clean according to OCIO
instructions outlined in the quick reference guide: IOS Device Data Wiping: Quick Reference Guide, Department of
Homeland Security, Immigration Customs Enforcement OCIO,” (November 1, 2017).5
Case 1:21-cv-10761-AK Document 56 Filed 08/18/22 Page 6 of 6



                     RICHARD J                    Digitally signed by RICHARD J
                                                  CLARK
                     CLARK                        Date: 2022.08.18 16:07:52 -04'00'
                     _______________________________
                     Richard J. Clark
                     Chief Technology Officer
                     Technology Transformation Office
                     Office of the Chief Information Officer
                     U.S. Immigration and Customs Enforcement
                     Department of Homeland Security
